                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                             Plaintiff              )
                                                    )
                      v.                            )      Criminal Action
                                                    )      No. 19-03028-01-CR-S-MDH
CHRISTINA E. GAUGER,                                )
                                                    )
                             Defendant.             )

                                           ORDER

       After the United States orally moved for pretrial detention, a hearing was held in this

matter pursuant to ' 3142(f), Title 18, United States Code. The defendant was present personally

and with her counsel Dee Wampler, attorney at law. The United States was represented by Bryon

Black, Assistant United States Attorney.

       An indictment has been returned alleging a violation of the Controlled Substances Act, for

which there is a maximum period of imprisonment of ten years or more. There is therefore a

rebuttable presumption that there are no conditions which would reasonably assure the defendant’s

appearance at all proceedings, as required, and the safety of other persons and/or the community.

Based on the evidence presented at the hearing, there are no conditions the Court can impose that

would reasonably assure the safety of other persons and/or the community.

       The factors to be considered by the Court are enumerated in Title 18, United States Code,

Section 3142(g). Regarding the potential danger to the community, the Court notes the nature of

the instant offense which includes the involvement of firearms. The Court notes defendant’s

criminal history which includes criminal activity while under supervision (the defendant was on

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probation in Christian and Polk County, Missouri, during a portion of the alleged conduct) and

Count Nine of the instant offense involves a child.

        The evidence at the hearing established that beginning on September 5, 2017, and

continuing until February 25, 2019, law enforcement made contact with the defendant on at least

four separate occasions in which the defendant was found to be in possession of distribution

amounts of methamphetamine (Counts 3, 8, and 9). As noted above, in Count Nine of the

Indictment, the defendant is charged with possession with intent to distribute methamphetamine

on premises where an individual under the age of 18 was present or resided.

        On February 25, 2019, defendant was arrested on the instant offense and was found to be in

possession of a distribution amount of methamphetamine in the vehicle in which she was driving.

Present in the vehicle with the defendant was at least one minor child. The Court notes safety

concerns for the minor children as well as the community.            In addition, the Court notes

defendant’s substance abuse history.

        Based on all the foregoing, the Courts finds by clear and convincing evidence that the

defendant is a danger to the community.

        IT IS THEREFORE ORDERED that the defendant be, and is hereby detained without

bail.

        IT IS FURTHER ORDERED that the defendant be committed to the custody of the

Attorney General or his designated representative for confinement in a correction facility separate,

to the extent practicable, from persons awaiting or serving sentences or being held in custody

pending appeal.     The defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States, or on request of an



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attorney for the Government, the person in charge of the corrections facility shall deliver the

defendant to the United States marshal for the purpose of an appearance in connection with a court

proceeding.

IT IS SO ORDRED.

DATED: March 27, 2019



                                                    /s/ David P. Rush
                                                     DAVID P. RUSH
                                               United States Magistrate Judge




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